767 F.2d 922
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES OF AMERICA, PLAINTIFF-APPELLEE,v.DENNY ALLEN GRAY, DEFENDANT-APPELLANT.
    NO. 84-5912
    United States Court of Appeals, Sixth Circuit.
    6/18/85
    
      E.D.Tenn.
      AFFIRMED
      BEFORE:  KENNEDY and WELLFORD, Circuit Judges; BROWN, Senior Circuit Judge.
    
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    